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                                                               April 3, 2017

Via ECF

Senior Judge I. Leo Glasser
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                                               Re:     Campbell v. Drink Daily Greens, LLC
                                                       Civil Action No. 1:16-cv-07176

Dear Senior Judge Glasser:

        This office represents the plaintiff in the above-referenced action. On March 30, 2017,
defendant filed a motion to dismiss. Part IV of your Honor s Individual Rules require that the parties
arrange their own briefing schedule and submit it to the Court to be endorsed. At no point has this
office been contacted by defendant s counsel to arrange a briefing schedule.

        I therefore intend to contact counsel for defendant later today so that a briefing schedule can
be established and submitted to the Court to be endorsed. Thank you.

                                                       Very truly yours,


                                                        /s Joshua Levin Epstein
                                                       Joshua Levin-Epstein


cc:    Via ECF
       Defendant s Counsel
